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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    JESUS MARIA CANO RUIZ,

                                         Plaintiff,                  19 Civ. 8810 (PAE) (KHP)
                         -v-
                                                                               ORDER
    SEIU LOCAL 32BJ, et al.,

                                         Defendants.


PAUL A. ENGELMAYER, District Judge:

         The Court has reviewed the recent letters addressed to it by pro se plaintiff Jesus Maria

Cano Ruiz, concerning confusion surrounding his recent filings and deadlines, and asking it “to

apply disciplinary actions to everyone involved.” Dkt. 55; see Dkts. 52, 54. Specifically, Mr.

Ruiz argues that his filing of an amended complaint was improperly deemed untimely and that

he was wrongly denied a previously granted extension of time to respond to a motion to dismiss.1

Since receiving those letters, Judge Parker—to whom this case remains referred for general

pretrial management—has scheduled a status conference to address these and other issues. See

Dkt. 56. Accordingly, the Court will not take action at this time. The Court wishes the parties a

productive discussion on Wednesday.

         The Clerk of Court is respectfully directed to mail a copy of this order to Mr. Ruiz at the

address on file.




1
 As to the latter, Mr. Ruiz suggests that United States Magistrate Judge Parker “cancel[ed]
Judge Engelmayer[’s] disposition to grant me until [March 22, 2021] to respond to a motion to
dismiss.” Dkt. 52 at 1. The Court notes that Judge Parker, not Judge Engelmayer, set the
original March 22, 2021 deadline, see Dkt. 44, before amending that deadline in an omnibus
scheduling order, Dkt. 50. As management of this case was, and remains, within Judge Parker’s
able hands and sound discretion, the Court does not express a view on those scheduling matters.
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      SO ORDERED.

                                            PaJA.�
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                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: January 11, 2021
       New York, New York




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